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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO

 IN THE MATTER OF THE SEARCH OF
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                                                  Case No. ____________________
 Jordan Amiere HULING;
                                                  Filed Under Seal
 1283 Nome Avenue, Akron, Ohio 44320


                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT


           I, JOHN S. CHRISTIE JR., Task Force Officer (TFO) of the Bureau of

 Alcohol, Tobacco, Firearms, and Explosives (ATF), United States Department of

 Justice, being duly sworn under oath, hereby depose and state:

                    INTRODUCTION AND AGENT BACKGROUND

1.        I am a law enforcement officer of the United States, and under 18 U.S.C. § 3051. I

am empowered by the Attorney General to conduct investigations, enforce criminal,

seizure, and forfeiture provisions of the laws of the United States, carry firearms, serve

warrants and subpoenas issued under the authority of the United States, make arrests

without a warrant for any offense against the United States committed in my presence, and

make arrests for a felony offense under the laws of the United States if there are reasonable

grounds to believe that the person to be arrested has committed or is committing such a

felony.

2.        I have been employed by the Ohio Adult Parole Authority (APA) as a Parole

Officer since March of 2016. Since May of 2017, I have been serving as a TFO with the

ATF. I am presently assigned to the APA’s Akron Region and to ATF’s Cleveland Field

Office.


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3.      I am a graduate of New Employee Orientation at the State of Ohio Department of

Rehabilitation and Corrections Training Academy, located in Orient, Ohio, as well as Basic

Probation Officer Training, through the Georgia Department of Corrections in Forsyth,

Georgia. During these training academies, I learned about the supervision of felony

offenders as well as conducting investigations, interviews, execution of arrest warrants, and

criminal procedure.

4.      I was previously employed as a Probation Officer with the Georgia Department of

Corrections from September of 2011 to May of 2015. During that time, I both led and

assisted with numerous drug and gang investigations that involved identifying criminal

activity, application of various investigative techniques, conducting searches, as well as

obtaining and executing arrest warrants.

5.      I received a Bachelor’s Degree in Sociology with a concentration in Criminal

Justice from St. John Fisher College in Rochester, NY. I have completed numerous

specialized training courses through organizations such as the Atlanta – Carolinas High

Intensity Drug Trafficking Area (HIDTA) and the Georgia Public Safety Training Center,

including courses on interviews and interrogations, search warrants and affidavits, gang

investigations, advanced gang investigation and prosecution techniques, cyber-crime

investigations, financial crime investigations, and money laundering investigations. I have

also completed an ATF Joint Law Enforcement Operations (JLEO) TFO program in

Washington DC, which included training on federal firearms laws and firearms

identification. In addition to these courses, I have been trained and certified as a semi-

automatic pistol instructor and a Glock pistol armorer.

6.      As an ATF Task Force Officer, I have conducted and/or assisted in numerous

investigations involving the possession, distribution, and trafficking of controlled
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substances, in violation of State and Federal laws. These drug investigations have involved

searching persons, electronic devices, social media, residences, and vehicles, for

contraband, using both search warrants and consent waivers. During these searches, I have

gained experience in identifying controlled substances. I have also gained experience with

other contraband commonly associated with illegal drug activity including, cutting agents,

narcotics packaging material, drug paraphernalia, counterfeit currency, and other items

used in the sale and distribution of controlled substances. I have also gained knowledge

that those involved in the distribution of narcotics often utilize electronic devices, such as

cellular phones, and social media websites/applications to communicate with their

customers and suppliers.

7.      As an ATF Task Force Officer, I have conducted and/or assisted in numerous

investigations involving the possession and trafficking of firearms in violation of State and

Federal laws, as well as the use of firearms in furtherance of other criminal offenses. In

conducting these investigations, I have utilized a variety of investigative techniques and

resources, including but not limited to surveillance, confidential informants, controlled

purchases, trash pulls, social media research, electronic databases and interviews. During

these investigations, I have learned that firearms are often acquired through third parties,

due to the subjects of investigation being prohibited from legally purchasing firearms. Like

drug distribution and trafficking, individuals engaged in illegal firearms trafficking utilize

electronic devices, such as cellular phones, and social media websites/applications to

communicate with their customers and suppliers.

8.      The facts contained in this Affidavit are based upon my personal knowledge of the

investigation, in addition to general knowledge, training, and experience, and the

observations, knowledge, training, and experience of other officers and agents. All
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observations referenced below that were not personally made by me, were relayed to me by

those who made such observations, either verbally or via reports written by those agents

and/or officers.

9.       This Affidavit contains information necessary to support probable cause for this

application. It is not intended to include each and every fact and matter observed by me or

law enforcement or known to the government.

                             PURPOSE OF THE AFFIDAVIT

10.      ATF Cleveland Group I, in conjunction with other federal, state, and local law

enforcement agency partners, has been conducting an investigation into the violation of

federal firearm laws by Jordan Amiere HULING (hereinafter “HULING”), and his

criminal associates. The investigation to date has focused on the following offenses:

            a. Unlawful possession of a machinegun, in violation of 18 U.S.C. § 922(o).

            b. Unlawful dealing in firearms, in violation of 18 U.S.C. § 922(a)(1)(A).

11.      The information relayed in this Affidavit is made in support of an application filed

for a search warrant to be conducted on the person of HULING and for an application filed

for a search warrant to be conducted at HULING’s residence located at 1283 Nome

Avenue, Akron, Ohio 44320 (hereinafter “SUBJECT PREMISES”).

                     PREMISES AND PERSON TO BE SEARCHED

12.      This application seeks authorization to search HULING who is further described as

an 18-year-old male, approximate height: 6’02”, approximate weight: 205 lbs., black hair,

brown eyes, DOB: XX/XX/2004. See HULING Attachment A. HULING Attachment A

is incorporated herein by reference. I conducted a search of a law enforcement database

(NCIC) and learned HULING has pending felony weapon offense charges in Summit

County, Ohio.
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13.      This application seeks authorization to search the SUBJECT PREMISES, noted

above as 1283 Nome Avenue, Akron, Ohio 44320, which is described in more detail in

SUBJECT PREMISES Attachment A. The SUBJECT PREMISES is located within the

Northern District of Ohio, Eastern Division. The SUBJECT PREMISES Attachment A is

incorporated herein by reference.

                                 ITEMS TO BE SEIZED

14.      A list of the specific items to be seized from HULING and the SUBJECT

PREMISES is included in Attachment B. Attachment B is incorporated herein by

reference. Based on my training and experience, and information relayed in this affidavit,

there is probable cause to believe that the items listed in Attachment B will be found on

HULING and in the SUBJECT PREMISES.

                     FACTS ESTABLISHING PROBABLE CAUSE

15.      Beginning in June 2023, ATF Cleveland Group I has been investigating an armed

criminal street gang operating in Akron, Ohio. During the investigation, law enforcement

became aware that people associated with this criminal street gang appeared in open-source

online media and on social networking platforms unlawfully possessing what appeared to

be Glock pistols equipped with Machinegun Conversion Devices (MCD).

16.      An MCD is a part, or combination of parts, designed and intended for use in

converting a semiautomatic Glock pistol into a machinegun. The MCD attaches to the rear

of the slide on Glock pistols and when the MCD is engaged, it is capable of making the

pistol fire multiple rounds of ammunition automatically with a single pull of the trigger,

turning the firearm into a machine gun. Thus, these devices are classified as machine guns

under the National Firearms Act and may only be lawfully possessed by a Federal Firearms

Licensee (FFL) that has paid a Special Occupational Tax. Based on my training and
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experience, I know that commonly used slang terms for MCD include “switch,” “Glock

switch,” “glitch,” and “button.” Through training and experience, I am familiar with

MCDs, their function, and their appearance both by themselves and when attached to a

firearm.

17.      During the investigation, I located media posted to YouTube, Facebook, and

Instagram depicting SUSPECT 1, unlawfully possessing what appeared to be a Glock

pistol with an MCD. SUSPECT 1 is not eligible for a Federal Firearms License due to him

only being 20 years old, and thus he unlawfully possessed the MCD. Through the

investigation, I determined that the source of SUSPECT 1’s MCD was SUSPECT 2.

SUSPECT 1 and SUSPECT 2 are persons whose identity is known to law enforcement.

18.      On September 13, 2023, United States Magistrate Judge Amanda M. Knapp issued

a search warrant for SUSPECT 2’s cellular telephone.

19.      On September 19, 2023, ATF, Barberton Police Department, and Akron Police

Department (APD) conducted an operation with the intent to execute the search warrant

issued on September 13, 2023. On that date, SUSPECT 2’s cellular telephone was seized

and was forensically examined. A forensic image was created of the device, which

provided me with a copy of data from SUSPECT 2’s cellular telephone, including, but not

limited to, messages, photographs, and videos stored on the device. Also on that date, in

addition to the cellular telephone, multiple MCDs were seized by ATF from SUSPECT 2.

20.      On October 10, 2023, I reviewed the forensic image of SUSPECT 2’s cellular

telephone. During the review, I located several message strings between SUSPECT 2 and




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HULING. I am aware that HULING’s nickname is “Osama.” 1 I also located photographs

believed to be sent by HULING to SUSPECT 2. HULING often appeared to advertise

firearms, including pistols and rifles, for sale in the messages with SUSPECT 2. I located

three message threads between HULING and SUSPECT 2 spanning from March 2023 to

September 2023.

21.      Based on the message threads, the three telephone numbers utilized by HULING

during that time include 216-533-3829, 216-744-4594, and 216-612-6682. The contact

name for telephone number 216-533-3829, was saved in SUSPECT 2’s phone as “Osama.”

At the beginning of the 216-744-4594 message thread, HULING identified himself as

“Osama.” At the beginning of the 216-612-6682 message thread, HULING identified

himself as “Osam.”

22.      During the review of the messages, I observed that on August 24, 2023, telephone

number 216-744-4594 (HULING) sent SUSPECT 2 messages regarding MCDs. Listed

below are some of the messages:

         a. 8/24/2023 11:19:24 AM(UTC-4) – SUSPECT 2 to HULING: “You got

            glitches” (Referring to MCDs).

         b. 8/24/2023 11:26:26 AM(UTC-4) – HULING to SUSPECT 2: “My dude got ah

            couples”

         c. 8/24/2023 11:26:36 AM(UTC-4) - SUSPECT 2 to HULING: “How much

            Lms”



1
        As detailed below, I have observed the Instagram page titled “Lilbro Osama.” Based upon
the content and photographs of HULING associated with that account, it is apparent that the
account belongs to HULING. Additionally, as also explained below, the location data and content
of photographs sent to SUSPECT 2’s phone by the contact “Osama” shows that the photos were
taken in or around the SUBJECT PREMISES, which surveillance and other investigative activity
described herein have shown is HULING’S residence.
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        d. 8/24/2023 12:01:46 PM(UTC-4) - HULING to SUSPECT 2: HULING sent a

            photograph titled, “IMG_3780.heic” to SUSPECT 2. “IMG_3780.heic” is a

            photograph depicting a disassembled MCD. As further described below, the

            countertop shown in the photograph is consistent with the bathroom countertop

            I observed in APD body worn camera footage taken inside the SUBJECT

            PREMISES on November 19, 2021 (see Paragraph 31). I reviewed the

            metadata associated with “IMG_3780.heic.” Metadata is data that is embedded

            within some photographs that provides information on the creation of the

            photograph, including, but not limited to, the device used to take the

            photograph, the date, the time, and geolocation where the photograph was

            taken. The information provided in the metadata indicated that the photograph

            was taken on July 25, 2023, at 9:43:09 PM at coordinates 41.074213, -

            81.570428. These coordinates are located just south side of the SUBJECT

            PREMISES. 2 See below the photograph sent by HULING:




2
        The exact coordinates resolve to a location in the northern portion of the residence closely
adjacent to the SUBJECT PREMISES. I am aware through training and experience that GPS
coordinates in many instances may not reflect an exact location, but are accurate within a certain
number of meters. Based on the context of the conversation in which this photograph was sent,
other conversation between SUSPECT 2 and HULING on the same day the photo was taken (see
Paragraph 24), the background countertop material in the photo, and the metadata location
information, I believe the photo was taken inside the SUBJECT PREMISES.
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       e. 8/24/2023 12:02:25 PM(UTC-4) - SUSPECT 2 to HULING: “How much”

       f. 8/24/2023 12:03:09 PM(UTC-4) - HULING to SUSPECT 2: “They 3 but if I

          get it fa u he ah give to me fa 250”

       g. 8/24/2023 12:03:34 PM(UTC-4) _ SUSPECT 2 to HULING: “How many he

          have”

       h. 8/24/2023 12:06:59 PM(UTC-4) - HULING to SUSPECT 2: “Last time I

          talked to em he had 4”


23.    On September 9, 2023, telephone number 216-612-6682 (HULING) sent

SUSPECT 2 the following message, “2 glitches in.” It appears that this message was

advertising two MCDs for sale. Listed below are some of the messages that occurred after

SUSPECT 2 received the previous message:
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    a. 9/9/2023 12:30:05 PM(UTC-4) - SUSPECT 2 to HULING: “Who this”

    b. 9/9/2023 12:30:17 PM(UTC-4) - HULING to SUSPECT 2: “Osam”

    c. 9/9/2023 12:31:04 PM(UTC-4) - SUSPECT 2 to HULING: “No Glocks

       around”

    d. 9/9/2023 12:31:21 PM(UTC-4) - HULING to SUSPECT 2: “Not rn I been

       tryna find sim fr”

    e. 9/9/2023 12:31:56 PM(UTC-4) - SUSPECT 2 to HULING: “Bet what

       happened to the 22” (Referring to a Glock model 22 pistol).

    f. 9/9/2023 12:33:01 PM(UTC-4) - HULING to SUSPECT 2: “I traded it for 5.7”

       (Referring to a Ruger model 5.7 pistol).

    g. 9/10/2023 3:26:48 PM(UTC-4) - HULING to SUSPECT 2: “Cuz see if sb tryn

       trade me this 5.7 for ah Glock n sum cheese” (HULING is requesting

       SUSPECT 2 check to see if somebody would be willing to trade him a Glock

       pistol plus cash for the Ruger pistol).

    h. SUSPECT 2 and HULING then discussed trading/selling firearms.

    i. 9/13/2023 11:18:02 AM(UTC-4) - HULING to SUSPECT 2: “U tryn trade me

       tht 26 for the 19x and 60” (HULING asked SUSPECT 2 if he wanted to trade a

       Glock 26 pistol for a Glock 19X pistol plus $60)

    j. HULING and SUSPECT 2 then appeared to make arrangements to trade Glock

       pistols.

    k. 9/13/2023 7:32:29 PM(UTC-4) - HULING to SUSPECT 2: “Brotha pull up”

       (HULING advised SUSPECT 2 to come to HULING’S location)

    l. SUSPECT 2 then asked HULING for his address. HULING replied, “1283

       nome ave” (SUBJECT PREMISES).
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24.    I also observed three additional text messages from SUSPECT 2’s cellular

telephone where HULING provided the address to the SUBJECT PREMISES:

       a. 4/11/2023 8:46:20 PM(UTC-4) – “1283 nome ave” (Sent from 216-533-3829).

       b. 5/1/2023 8:48:46 PM(UTC-4) – “1283 nome ave” (Sent from 216-744-4594).

       c. 7/25/2023 6:39:30 PM(UTC-4) – “1283 nome ave” (Sent from 216-744-4594.

           This message was sent the same date that “IMG_3780.heic” was taken,

           approximately 3 hours earlier. (“IMG_3780.heic” is described in paragraph 22).

25.    On October 10, 2023, I conducted a review of HULING’s Instagram account

“b2a.osama.” During the review, I observed that the name listed on the account was

“Lilbro Osama” and I observed photographs of HULING on the page. I also observed an

Instagram story. An Instagram story is a short video, or series of videos/photographs,

which users can post to their page. The video(s)/photograph(s) only remain on the page for

a limited period of time before it disappears. The story consisted of multiple segments. The

first segment was time stamped “1d,” indicating that it was posted one day prior to me

viewing it, on October 9, 2023. The segment displayed the text, “G[lock emoji] Buttons

[arrow pointing at cellular telephone emoji] [arrow pointing at cellular telephone emoji].”

This Instagram story segment was essentially an advertisement indicating that HULING

had two MCDs (“Glock buttons”) available and he was directing customers to contact him

via his cellular telephone. See below screenshot:




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26.    The fourth segment of the story depicted a photograph of the ceiling of a room

(believed to be the SUBJECT PREMISES). The time stamp on the photograph indicated

that it was posted four hours prior to me viewing it, on October 10, 2023. The caption on

the photograph stated, “23 and m&p aroun [arrow pointing at cellular telephone emoji]

[yellow caution sign emoji].” This Instagram story segment was an advertisement

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indicating that HULING had a Glock model 23 pistol and a Smith and Wesson M&P pistol

available for sale and directed customers to contact him via his cellular telephone.

27.    On October 17, 2023, ATF Industry Operations Intelligence Specialist Michael

Thrush conducted a query of ATF’s FFL database. No record was found indicating that

HULING is an FFL.

28.    On October 17, 2023, I reviewed APD body worn camera footage from a missing

person incident that occurred on November 19, 2021 (APD case 2021-00148928). During

the incident, responding APD officers were allowed into the living room of the SUBJECT

PREMISES by Candice Huling. During the incident, officers also checked the rooms of

the SUBJECT PREMISES for the missing person. The footage of the bedroom in the

southwest corner of the SUBJECT PREMISES depicts beige colored walls and shows a

light fixture on the ceiling of the room which appears to match the photograph displayed on

HULING’s Instagram page on October 10, 2023, which advertised a Glock model 23

pistol and a Smith and Wesson M&P pistol for sale (paragraph 26). This indicates that

HULING was inside the SUBJECT PREMISES when he advertised the firearms for sale.

See below photographs comparing a screenshot of the APD footage to the screenshot of the

Instagram story segment. This indicates that HULING was inside of the SUBJECT

PREMISES when he advertised the firearms for sale. I have added red arrows to the

photographs to highlight the light fixture in the southwest bedroom:




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29.    On October 17, 2023, I again reviewed messages sent by HULING (216-744-4594)

to SUSPECT 2. During the review, I observed a series of messages sent by HULING

regarding HULING attempting to sell an AR-15 type rifle, referred to by HULING as a




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“yop,” a commonly used slang term for an assault rifle. The messages below appear to

show HULING asking SUSPECT 2 to assist with attempting to find a buyer for the rifle:

       a. 8/13/2023 10:49:56 PM(UTC-4) – HULING to SUSPECT 2: “See if sb tryna

          grab this Yop off me $600”

       b. 8/13/2023 10:50:09 PM(UTC-4) – SUSPECT 2 to HULING: “Lms it”

       c. 8/13/2023 11:07:19 PM(UTC-4) - SUSPECT 2 to HULING: “?”

       d. 8/14/2023 8:32:04 AM(UTC-4) - HULING to SUSPECT 2: “Gimme one sex”

       e. 8/14/2023 8:32:08 AM(UTC-4) - HULING to SUSPECT 2: “Sec*”

       f. 8/14/2023 10:32:47 AM(UTC-4) - SUSPECT 2 to HULING: “Lms”

       g. 8/14/2023 10:32:50 AM(UTC-4) - SUSPECT 2 to HULING: “Lmk”

       h. 8/14/2023 10:58:53 AM(UTC-4) - HULING to SUSPECT 2: HULING sent a

          photograph titled, “IMG_6913.heic” to SUSPECT 2. “IMG_6913.heic” is a

          photograph depicting an AR-15 type rifle. I reviewed the metadata associated

          with “IMG_6913.heic.” The information provided in the metadata indicated that

          the photograph was taken on August 14, 2023, at coordinates 41.074305, -

          81.570481, in the northwest corner of the SUBJECT PREMISES.

       i. 8/14/2023 11:02:59 AM(UTC-4) - SUSPECT 2 to HULING: “Can you do

          450?”

       j. 8/14/2023 11:07:16 AM(UTC-4) - SUSPECT 2 to HULING: “?”

       k. 8/14/2023 11:14:58 AM(UTC-4) - HULING to SUSPECT 2: HULING sent

          photographs titled “IMG_6913.heic,” “IMG_6914.heic,” and “IMG_6916.heic”

          to SUSPECT 2. Each photograph depicted an AR-15 type rifle inside of a

          residence (SUBJECT PREMISES). I reviewed the metadata associated with

          “IMG_6914.heic.” The information provided in the metadata indicated that the
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           photograph was taken on August 14, 2023, at coordinates 41.074275, -

           81.570464, in the west side of the SUBJECT PREMISES. I also reviewed the

           metadata associated with “IMG_6916.heic.” The information provided in the

           metadata indicated that the photograph was taken on August 14, 2023, at

           coordinates 41.074286, -81.570473, in the west side of the SUBJECT

           PREMISES.

30.    After reviewing this message thread, I compared the photographs

“IMG_6913.heic,” “IMG_6914.heic,” and “IMG_6916.heic” to the APD body worn

camera footage from November 19, 2021 (APD case 2021-00148928). The photographs

sent by HULING appear to have been taken in the living room of the SUBJECT

PREMISES. See below photographs comparing a screenshot of the APD footage to

“IMG_6913.heic.” I have added red arrows to the photographs to highlight matching

features in the living room:




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31.    I also observed that the countertop displayed on image “IMG_3780.heic” (depicting

the disassembled MCD detailed in paragraph 22), appeared to be similar to the countertop

in the bathroom of the SUBJECT PREMISES, which was seen in the APD body worn

camera footage from November 19, 2021 (APD case 2021-00148928). This is consistent




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with the location of the bathroom on the south side of the SUBJECT PREMISES

compared to the metadata location information for “IMG_3780.heic.”

32.    On October 18, 2023, I conducted surveillance on the SUBJECT PREMISES. At

approximately 11:26 AM, HULING exited the north facing entry door of the SUBJECT

PREMISES and stood in the driveway.

33.    I am also aware of an incident that occurred on February 8, 2023, involving

HULING (APD case 2023-00015234). On that date, information was obtained by an

employee at Butchel Community Learning Center (1040 Copley Road, Akron, Ohio,

44320) that HULING, who was a student at the school, may be in possession of a firearm.

HULING was overheard speaking with another student at the school and asking the other

student, “Is your glove box unlocked is it still in there?” While school staff attempted to

locate the vehicle, referred to by HULING, in the parking lot, HULING exited the school.

A school resource officer (SRO) then observed HULING near the vehicle that was being

sought after. HULING appeared to be attempting to gain entry into the vehicle and locked

the vehicle, using keys, while interacting with an SRO. HULING then left the area on foot.

A subsequent search of the vehicle yielded a Glock model 20 pistol equipped with an MCD

and an extended magazine. Forensic testing by the Ohio Bureau of Criminal Investigation

determined that HULING’s Deoxyribonucleic acid (DNA) was present on the back of the

firearm slide (where the MCD is located).

34.    HULING was charged with Unlawful Possession of a Dangerous Ordinance,

Illegal Conveyance of Weapons on School Premises, and Improperly Handling Firearms in

a Motor Vehicle. Akron Public School administration provided APD with the address that

they had on file for HULING, which was the SUBJECT PREMISES. This case is

currently pending in the Summit County, Ohio, Court of Common Pleas.
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                             STATEMENT OF EXPERTISE

35.    Based on my training and experience, and the collective training and experience of

others with whom I work, I know the following to be true:

       a. Subjects possessing firearms and/or MCDs, in particular subjects engaged in the

           violation of other laws, such as unlawful dealing in firearms, often possess

           firearms for protection. In order for a subject to protect themselves, they must

           have ready access to the firearm they are possessing. I have regularly

           encountered subjects that are possessing firearms in the same residence where

           they reside, in addition to subjects possessing firearms in their vehicles and

           other storage locations to which they have ready access.

       b. Subjects illegally possessing firearms and/or MCDs, will attempt to hide their

           firearms and/or MCDs, as their mere possession of those items is a violation of

           Federal law. I am familiar with a variety of places that people have attempted to

           conceal their illegally possessed firearms and/or MCDs, to include vehicles in

           their names, vehicles in the names of significant others or associates, rental

           vehicles, in small ceiling and wall compartments, in garages, in safes, and in a

           variety of storage containers found both inside and outside of a residence.

       c. Subjects possessing firearms and/or MCDs, also regularly possess ammunition

           for those firearms, ammunition magazines, firearms maintenance paraphernalia,

           like a weapons cleaning kit, and bags or holsters to either carry or conceal

           firearms.

       d. Subjects unlawfully dealing in firearms, including MCDs, often have record or

           evidence of how they obtained a firearm and/MCD, and who the firearm

           and/MCD was unlawfully sold to. In cases where a firearm was “straw
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       purchased,” which occurs when a subject that does not have a criminal history

       purchases a firearm on behalf of a subject that does have a criminal history, this

       record may actually be a copy of the record of sale. Other record may include be

       in the form of business and personal ledgers and diaries, in a photograph of a

       subject handling, firing, or possessing firearms and/or MCDs, calendars

       documenting dates violations of law have occurred, “IOUs,” miscellaneous

       notes, and documents when firearms and/or MCDs were obtained, transferred,

       sold, distributed, and/or concealed. These records may be financial records and

       notes showing payment, receipt, concealment, transfer, or movement of money

       generated from the sale and/or illegal possession or transfer of firearms and/or

       MCDs. These records can reflect names, addresses and/or telephone numbers of

       associates and co-conspirators. In other cases, I have observed firearms boxes,

       which contain the serial number for a firearm, stored separately from the

       location of the firearm, or in residences where no firearms were recovered at all.

       The box containing the serial number of a firearm offers clues as to the

       possession of a firearm by subjects at the residence and how those subjects

       came to possess the firearms.

    e. In addition, most all of the of the above listed documents and records may be

       stored electronically on an electronic device, such as a cellular telephone.

       Cellular telephones offer a broad range of including, but not limited to the

       following: storing names and phone numbers in electronic “address books;”

       storing voicemails; storing a “call log” which records the telephone number,

       date, and time of calls made to and from the telephone; sending, receiving, and

       storing text messages and e-mail; taking, sending, receiving, and storing still
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           photographs and video; storing notes and electronic messages; storing and

           playing back audio files; storing dates and appointments; accessing and

           downloading information from the internet; and allowing the operation of web-

           based communication and social media applications, such as Facebook,

           Instagram, Twitter, and Snapchat. Cellular telephones may also include global

           positioning system (“GPS”) technology for determining the location of the

           device. Similarly, any electronic device, including computers, ipads, ipods,

           tablets, and electronic organizers, capable of communicating over the internet,

           have the potential to provide the evidentiary value described above.

       f. Subjects maintain documents and other items showing who owns, occupies, or

           controls the location being searched, which is evidence of who is responsible

           for or has knowledge about the items found on the premises, including

           contraband and other seized evidence. Documents and items showing the

           identity of the persons owning, residing in, or controlling an area being searched

           may include, but are not limited to, utility and telephone bills, payment records

           and correspondence, tax returns, keys, deeds, rental payment receipts, and

           mortgage receipts.

36.    The warrant I am applying for would permit law enforcement to obtain from certain

individuals the display of physical biometric characteristics (such as fingerprint, thumbprint,

or facial characteristics) in order to unlock devices subject to search and seizure pursuant to

this warrant. I seek this authority based on the following:

       a. I know from my training and experience, as well as from information found in

           publicly available materials published by device manufacturers, that many

           electronic devices, particularly newer mobile devices and laptops, offer their
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       users the ability to unlock the device through biometric features in lieu of a

       numeric or alphanumeric passcode or password. These biometric features include

       fingerprint scanners and facial recognition features. Some devices offer a

       combination of these biometric features, and the user of such devices can select

       which features they would like to utilize.

    b. If a device is equipped with a fingerprint scanner, a user may enable the ability

       to unlock the device through his or her fingerprints. For example, Apple offers a

       feature called “Touch ID,” which allows a user to register up to five fingerprints

       that can unlock a device. Once a fingerprint is registered, a user can unlock the

       device by pressing the relevant finger to the device’s Touch ID sensor, which is

       found in the round button (often referred to as the “home” button) located at the

       bottom center of the front of the device. The fingerprint sensors found on devices

       produced by other manufacturers have different names but operate similarly to

       Touch ID.

    c. If a device is equipped with a facial recognition feature, a user may enable the

       ability to unlock the device through his or her face. For example, Apple offers a

       facial recognition feature called “Face ID.” During the Face ID registration

       process, the user holds the device in front of his or her face. The device’s

       camera then analyzes and records data based on the user’s facial characteristics.

       The device can then be unlocked if the camera detects a face with

       characteristics that match those of the registered face. Facial recognition

       features found on devices produced by other manufacturers have different

       names but operate similarly to Face ID.


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    d. In my training and experience, users of electronic devices often enable the

       aforementioned biometric features because they are considered to be a more

       convenient way to unlock a device than by entering a numeric or alphanumeric

       passcode or password. Moreover, in some instances, biometric features are

       considered to be a more secure way to protect a device’s contents. This is

       particularly true when the users of a device are engaged in criminal activities

       and thus have a heightened concern about securing the contents of a device.

    e. As discussed in this affidavit, based on my training and experience I believe that

       one or more digital devices will be found during the search. The passcode or

       password that would unlock the device(s) subject to search under this warrant is

       not known to law enforcement. Thus, law enforcement personnel may not

       otherwise be able to access the data contained within the device(s), making the

       use of biometric features necessary to the execution of the search authorized by

       this warrant.

    f. I also know from my training and experience, as well as from information found

       in publicly available materials including those published by device

       manufacturers, that biometric features will not unlock a device in some

       circumstances even if such features are enabled. This can occur when a device

       has been restarted, inactive, or has not been unlocked for a certain period of time.

       For example, Apple devices cannot be unlocked using Touch ID when (1) more

       than 48 hours has elapsed since the device was last unlocked or (2) when the

       device has not been unlocked using a fingerprint for 4 hours and the passcode or

       password has not been entered in the last 156 hours. Biometric features from other

       brands carry similar restrictions. Thus, in the event law enforcement personnel
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       encounter a locked device equipped with biometric features, the opportunity to

       unlock the device through a biometric feature may exist for only a short time.

    g. In my training and experience, the person who is in possession of a device or

       has the device among his or her belongings at the time the device is found is

       likely a user of the device. However, in my training and experience, that person

       may not be the only user of the device whose physical characteristics are among

       those that will unlock the device via biometric features, and it is also possible

       that the person in whose possession the device is found is not actually a user of

       that device at all. Furthermore, in my training and experience, I know that in

       some cases it may not be possible to know with certainty who is the user of a

       given device, such as if the device is found in a common area of a premises

       without any identifying information on the exterior of the device. Thus, it will

       likely be necessary for law enforcement to have the ability to require any

       individual, who is found at the Subject Premises and reasonably believed by law

       enforcement to be a user of the device, to unlock the device using biometric

       features in the same manner as discussed above.

    h. Due to the foregoing, if law enforcement personnel encounter a device that is

       subject to search and seizure pursuant to this warrant and may be unlocked using

       one of the aforementioned biometric features, the warrant I am applying for

       would permit law enforcement personnel to (1) press or swipe the fingers

       (including thumbs) of Jordan Amiere HULING, to the fingerprint scanner of

       the device; (2) hold the device in front of HULING’S face and activate the facial

       recognition feature, for the purpose of attempting to unlock the device in order to

       search its contents as authorized by this warrant.
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                                       CONCLUSION

37.    Based on the information set forth in this affidavit, including my training and

experience, I believe there is probable cause to believe evidence of violations of the

following offenses are currently located on HULING and in the SUBJECT PREMISES:

           a. Unlawful possession of a machinegun, in violation of 18 U.S.C. § 922(o).

           b. Unlawful dealing in firearms, in violation of 18 U.S.C. § 922(a)(1)(A).

38.    Due to the ongoing nature of this investigation, I respectfully request that all

documents related to this application for search warrant be sealed until further order of the

Court. This investigation is of a sensitive nature, and any disclosure of the fact of this

search warrant, or the facts contained in this affidavit, could jeopardize the investigation by

allowing subjects to conceal and/or destroy evidence, and could potentially place

Confidential Sources of Information and/or law enforcement at risk.

39.    I declare under penalty of perjury that the statements above are true and correct to

the best of my knowledge, information, and belief.



                                               _____________________________________
                                               John S. Christie Jr.
                                               Task Force Officer
                                               Bureau of Alcohol, Tobacco, Firearms and
                                               Explosives


This affidavit was sworn to by the affiant by telephone after a PDF was transmitted
by email, per Crim R. 41(d)(3) this __25th___ day of October 2023.



                                               _____________________________________
                                               Amanda M. Knapp
                                               United States Magistrate Judge
                                               Northern District of Ohio
                                               Eastern Division
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